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 5                                                       THE HONORABLE BRIAN D. LYNCH
     Sterbick and Associates
 6
     1010 S “I” Street
 7   Tacoma WA 98405                                         Hearing Date: August 23, 2023
     (253)-383-0140                                          Hearing Time: 9:00 AM
 8   (253)-383-8374 fax                                      Location: Tacoma WA
 9                                                           Response Date: August 16, 2023
10                              UNITED STATES BANKRUPTCY COURT
11                              WESTERN DISTRICT OF WASHINGTON
12   In re:                                               Case No.: 23-40433
13   Justin Russell Griffith and
                                                        DEBTORS MOTION TO CONVERT A CASE
14   Miranda Rose Griffith
                                                        UNDER CHAPTER 7 TO A CASE UNDER
15                                                      CHAPTER 13, WITH NOTICE OF HEARING,
                                                        AND PROOF OF SERVICE
16                           Debtors

17
              Come now Debtors Justin and Miranda Griffith by and through their attorney, John A.
18
     Sterbick, and respectfully request the court enter an Order Converting this Chapter 13 case to a
19
     case under Chapter 13 Pursuant to 11 U.S.C. § 1307(a) on the grounds set forth below.
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              1. On March 22, 2023, the above-referenced Debtors filed a Voluntary Petition under
21
22                 Chapter 7 of the Bankruptcy Code.

23            2. This case has not been previously converted under 11 U.S.C. § 112, § 1208, or § 1307.
24
              WHEREFORE, Debtors prays for an Order converting this case under Chapter 7 to
25
     Chapter 13 of the Bankruptcy Code.
26
27            DATED: July 5, 2023, at Tacoma, Washington.
28                                                     /s/ John A. Sterbick
29                                                     John A. Sterbick, WSBA #17805
                                                       Attorney for Debtor
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     CONVERT CASE                                                   STERBICK AND ASSOCIATES
                                                                       1010 S. “I” STREET
     Page 1 of 3                                                        Tacoma WA 98405
                                                                         (253) 383-0140
                                                                       (253) 387-6352 Fax:
 1                        NOTICE OF MOTION AND HEARING THEREON
 2
 3            YOU ARE FURTHER NOTIFIED that the hearing on this motion will be before the
 4       Honorable Brian D. Lynch, United States Bankruptcy Judge, on, August 23, 2023, at
 5       9:00AM. Courtroom I. Any objections must be served upon John Sterbick at the address
 6       set forth above no later than August 16, 2023. Objections to the motion must also be
 7       filed with the Clerk of the Court, United States Bankruptcy Court, 1717 Pacific Ave
 8       Tacoma WA 98402.

 9
10            YOU ARE FURTHER NOTIFIED that if no objection is received on or before said

11       date, an Order granting debtor’s motion may be entered by the Court in its discretion

12       prior to the hearing without further notice.

13
14       DATED: July 5, 2023, at Tacoma Washington

15
                                                   /s/John A. Sterbick
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                                                   John A. Sterbick, WSBA #17805
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     CONVERT CASE                                                STERBICK AND ASSOCIATES
                                                                    1010 S. “I” STREET
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                                                                      (253) 383-0140
                                                                    (253) 387-6352 Fax:
 1
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 5                                          PROOF OF SERVICE
 6
 7            I declare under penalty of perjury under the laws of the State of Washington that I
 8   electronically filed the foregoing with the United States Bankruptcy Court at Tacoma, and sent
 9   notice via ECF to:
10            Chapter 7 Trustee Mark Waldron      Honorable Brian D. Lynch
11            US Trustee
12            And to: Debtors and creditors on the attached mailing matrix
13
14            Dated: July 10, 2023
15                                                        /s/Ray Ostrander
                                                          Paralegal
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     CONVERT CASE                                                  STERBICK AND ASSOCIATES
                                                                      1010 S. “I” STREET
     Page 3 of 3                                                       Tacoma WA 98405
                                                                        (253) 383-0140
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